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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division


UNITED STATES OF AMERICA,

               Plaintiff,

                                                             Civil Action No. 3:15cvl61


LEWIS F. CARTER,

               Defendant


                                 MEMORANDUM OPINION

       This matter comes before the Court on three motions filed by Defendant Lewis F. Carter:

(1) Carter's "Motion to Alter or Amend the Order of the Court" pursuant to Federal Rule of Civil

Procedure 59(e)' (the "Motion to Alter orAmend"), (ECF No. 99); (2) Carter's "Motion by New
Evidence to Void Judgment for Lack of Subject-Matter Jurisdiction of the District Court to

Enforce Plaintiffs Assessments of a Direct and Unapportioned Tax on Income under Article I,

Section 8 Authorities as Erroneously Done by the Court; and for Fraud Upon the Court" pursuant

to Federal Rules of Civil Procedure 60(b)(3),(4), and (6)^ and 60(d)(3)^ (the "First Motion to


       ' Rule 59(e) states: "(e) Motion to Alter orAmend a Judgment. Amotion to alter or
amend a judgment must be filed no later than 28 days after the entry of the judgment." Fed. R.
Civ. P. 59(e).

        Rule 60(b) states, in relevant part:

       (b) Grounds for Relief from a Final Judgment, Order, or Proceeding. On motion
       and just terms, the court may relieve a party or its legal representative from a final
       judgment, order, or proceeding for the following reasons:



       (3) fraud (whether previously called intrinsic or extrinsic), misrepresentation, or
       misconduct by an opposing party;
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